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 1   JOSEPH H. HUNT
     Assistant Attorney General, Civil Division
 2   NICOLA T. HANNA
     United States Attorney
 3   DAVID M. HARRIS
     Assistant United States Attorney
 4   Chief, Civil Division
     DAVID K. BARRETT
 5   Assistant United States Attorney
 6   Chief, Civil Fraud Section
     ABRAHAM C. MELTZER
 7   Assistant United States Attorney
     Deputy Chief, Civil Fraud Section
 8   JOHN E. LEE (CBN 128696)
     Assistant United States Attorney
 9         300 N. Los Angeles Street, Room 7516
           Los Angeles, California 90012
10         Tel: (213) 894-3995
           Fax: (213) 894-7819
11         Email: john.lee2@usdoj.gov
     MICHAEL D. GRANSTON
12   PATRICIA L. HANOWER
     DAVID T. COHEN
13   Attorneys, Civil Division
     United States Department of Justice
14         P.O. Box 261
           Ben Franklin Station
15         Washington, D.C. 20044
16         Telephone: (202) 307-0136
           Facsimile: (202) 307-3852
17         E-mail: david.t.cohen@usdoj.gov
     Attorneys for the United States of America
18
                              UNITED STATES DISTRICT COURT
19
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                   WESTERN DIVISION
21
     UNITED STATES OF AMERICA; the                No. CV 13-5861 JLS (AJWx)
22   STATES of CALIFORNIA, DELAWARE,
     FLORIDA, GEORGIA, HAWAII,                    UNITED STATES OF AMERICA’S
23   ILLINOIS, INDIANA, LOUISIANA,                STATUS REPORT
     MICHIGAN, MINNESOTA, MONTANA,
24   NEVADA, NEW HAMPSHIRE, NEW
     JERSEY, NEW MEXICO, NEW YORK,
25   NORTH CAROLINA, OKLAHOMA,
26   RHODE ISLAND, TENNESSEE, TEXAS,
     and WASHINGTON; COMONWEALTHS
27   of MASSACHUSETTS and VIRGINIA,
     and the DISTRICT OF COLUMBIA ex rel.
28   MARIA GUZMAN,
                Plaintiffs,
 Case 2:13-cv-05861-JLS-AJW Document 105 Filed 11/04/19 Page 2 of 5 Page ID #:1285




 1                    v.
 2   INSYS THERAPEUTICS, INC.;
     MICHAEL BABICH, an individual; ALEC
 3   BURLAKOFF, an individual; and DOES 1
     through 15,
 4
               Defendants.
 5
 6
     UNITED STATES OF AMERICA ex rel.          No. CV 14-3488 JLS (AJWx)
 7   JOHN DOE and ABC, LLC,
 8             Plaintiffs,
 9                    v.
10   INSYS THERAPEUTICS, INC.; ALEC
     BURLAKOFF; and MICHAEL L.
11   BABICH,
12             Defendants.
13
14
     UNITED STATES OF AMERICA ex rel.          No. CV 14-9179 JLS (AJWx)
15   TORGNY ANDERSSON,
16             Plaintiffs,
17                    v.
18   INSYS THERAPEUTICS, INC.,
19             Defendant.
20
21   UNITED STATES OF AMERICA ex rel.          No. CV 16-2956 JLS (AJWx)
     ALLISON ERICKSON and SARA
22   LUEKEN,
23             Plaintiffs,
24                    v.
25   INSYS THERAPEUTICS, INC.,
26             Defendant.
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                                           2
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 1   UNITED STATES OF AMERICA ex rel.                 No. CV 16-7937 JLS (AJWx)
     JANE DOE and the States of
 2   CALIFORNIA, COLORADO,
     CONNECTICUT, DELAWARE,
 3   FLORIDA, GEORGIA, HAWAII,
     ILLINOIS, INDIANA, IOWA,
 4   LOUSIANA, MARYLAND,
     MASSACHUSETTS, MICHIGAN,
 5   MINNESOTA, MONTANA, NEVADA,
     NEW JERSEY, NEW MEXICO, NEW
 6   YORK, NORTH CAROLINA,
     OKLAHOMA, RHODE ISLAND,
 7   TENNESSEE, TEXAS, VERMONT,
     VIRGINIA, WASHINGTON, the CITY
 8   OF CHICAGO, and the DISTRICT OF
     COLUMBIA,
 9
                  Plaintiffs,
10
                         v.
11
     INSYS THERAPEUTICS, INC. and
12   LINDEN CARE LLC,
13                Defendants.
14
15
16         Pursuant to this Court’s Order filed on May 11, 2018 (Docket No. 69), plaintiff
17   United States of America, by its attorneys, respectfully submits this status report to the
18   Court and the parties in these consolidated actions.
19         On August 9, 2018, the United States advised the Court that it and defendant Insys
20   Therapeutics, Inc. (“Insys”) had reached a tentative settlement-in-principle, that the
21   settlement-in-principle was subject to governmental and other approvals, and that the
22   tentative agreement resolved material terms that had been the subject of ongoing
23   settlement negotiations.
24         On May 2, 2019, a jury reached a verdict in the related criminal action in the
25   District of Massachusetts, United States v. Babich, CR 16-10343-ADB (D. Mass. filed
26   Dec. 6, 2016) (“Babich case”). Some of the defendants convicted in the Babich case are
27   defendants in these actions. Sentencings of the defendants in the Babich case are
28   currently scheduled for January 6, 7, 8, 9, and 10, 2020.
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 1         On June 5, 2019, the United States and Insys executed a settlement agreement
 2   regarding the United States’ claims against Insys in these actions. The intervening states
 3   and the relator were not parties to this settlement agreement.
 4         On June 10, 2019, Insys filed for bankruptcy in the United States Bankruptcy
 5   Court for the District of Delaware. In re Insys Therapeutics, Inc., No. 19-11292-KG
 6   (filed June 10, 2019) (“bankruptcy case”). On October 7, 2019, the bankruptcy court
 7   approved a compromise agreement between Insys and the United States. Counsel for the
 8   United States believe that creditors of Insys have until December 19, 2019 to file any
 9   pre-petition claims in the bankruptcy case.
10         Counsel for the United States has confirmed with prosecutors in United States v.
11   Freeman, CR 18-00217-KMW (S.D.N.Y. filed Mar. 14, 2018) (“Freeman case”), that
12   the Freeman case is currently set to commence trial on November 4, 2019. The
13   Freeman case raises allegations that overlap with some of the allegations in these cases.
14         The United States and counsel for the relators have discussed the issue of relators’
15   share and have reached a tentative agreement regarding an appropriate relators’ share in
16   this action, for which the United States is currently seeking approval.
17         At this time, the United States believes that a further stay of these actions is
18   necessary pending further developments in these matters. The United States will file a
19   further status report no later than 90 days after the filing of this report.
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 1                               Respectfully submitted,
 2   Dated: November 4, 2019      JOSEPH H. HUNT
                                  Assistant Attorney General, Civil Division
 3                                NICOLA T. HANNA
                                  United States Attorney
 4                                DAVID M. HARRIS
                                  Chief, Civil Division
 5                                DAVID K. BARRETT
                                  Chief, Civil Fraud Section
 6                                ABRAHAM C. MELTZER
                                  Deputy Chief, Civil Fraud Section
 7                                Assistant United States Attorneys
 8                                ANDY J. MAO
                                  PATRICIA L. HANOWER
 9                                DAVID T. COHEN
                                  Attorneys, Civil Division
10                                United States Department of Justice
11                                   /S/ John E. Lee
                                  _____________________________________
12                                JOHN E. LEE
                                  Assistant United States Attorneys
13                                Attorneys for the United States of America
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